        Case 1:13-cr-00136-DAD-BAM Document 140 Filed 05/24/13 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   GRANT B. RABENN
     Assistant U.S. Attorneys
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for the
 6     United States of America
 7                     IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                             )   1:13-cr-00136-AWI-BAM
10   UNITED STATES OF AMERICA,               )
                                             )
11                    Plaintiff,             )
                                             )   STIPULATION AND PROTECTIVE
12                                           )   ORDER BETWEEN THE UNITED
                 v.                          )   STATES AND DEFENDANT PHALLY
13                                           )   THACH
                                             )
14   PHALLY THACH,                           )
                                             )
15                                           )
                      Defendant.             )
16                                           )
17
          WHEREAS, the discovery in this case is voluminous and contains a
18
     large amount of personal and confidential information including but not
19
     limited to Social Security numbers, dates of birth, bank account
20
     numbers,   telephone   numbers,   and   residential   addresses   (“Protected
21
     Information”); and
22
          WHEREAS, the parties desire to avoid both the necessity of large
23
     scale redactions and the unauthorized disclosure or dissemination of
24
     this information to anyone not a party to the court proceedings in this
25
     matter;
26
          The parties agree that entry of a stipulated protective order is
27
     appropriate.
28
        Case 1:13-cr-00136-DAD-BAM Document 140 Filed 05/24/13 Page 2 of 3


 1        THEREFORE, Defendant Phally Thach (“Defendant”), by and through his
 2   counsel of record, Edward Marshall Hodgkins, III (“Defense Counsel”),
 3   and the United States of America, by and through Assistant United States
 4   Attorney Grant B. Rabenn, hereby agree and stipulate as follows:
 5        1.     This Court may enter a protective order pursuant to Rule 16(d)
 6   of the Federal Rules of Criminal Procedure, and its general supervisory
 7   authority.
 8        2.     This Order pertains to all discovery provided to or made
 9   available    to   Defense       Counsel    as    part   of   discovery   in   this   case
10   (hereafter, collectively known as “the discovery”).
11        3.     By signing this Stipulation and Protective Order, Defense
12   Counsel agrees not to share any documents that contain Protected
13   Information with anyone other than Defense Counsel attorneys, designated
14   defense investigators, and support staff.                Defense Counsel may permit
15   Defendant to view unredacted documents in the presence of his attorney,
16   defense investigators, and support staff.                    The parties agree that
17   Defense Counsel, defense investigators, and support staff shall not
18   allow   Defendant       to    copy     Protected    Information    contained    in    the
19   discovery.        The        parties    agree    that    Defense   Counsel,     defense
20   investigators, and support staff may provide Defendant with copies of
21   documents from which Protected Information has been redacted.
22        4.     The discovery and information therein may be used only in
23   connection with the litigation of this case and for no other purpose.
24   The discovery is now and will forever remain the property of the United
25   States of America (“Government”).                  Defense Counsel will return the
26   discovery to the Government or certify that it has been shredded at the
27   conclusion of the case.
28        5.     Defense Counsel will store the discovery in a secure place and



                                                  2
        Case 1:13-cr-00136-DAD-BAM Document 140 Filed 05/24/13 Page 3 of 3


 1   will use reasonable care to ensure that it is not disclosed to third
 2   persons in violation of this agreement.
 3        6.     Defense Counsel shall be responsible for advising Defendant,
 4   employees, and other members of the defense team, and defense witnesses
 5   of the contents of this Stipulation and Order.
 6        7.     In the event that Defendant substitutes counsel, undersigned
 7   Defense Counsel agrees to withhold discovery from new counsel unless and
 8   until substituted counsel agrees also to be bound by this Order.
 9        8.    Defense Counsel reserves the right to later seek to have the
10   terms of this Order modified or revoked.          Defense Counsel agrees to
11   return the discovery to the Government in its complete form if the terms
12   of this Order are modified or revoked if so requested by the United
13   States.
14        IT IS SO STIPULATED.
15   DATED: May 24, 2013                       BENJAMIN B. WAGNER
                                               United States Attorney
16
17                               By:           /s/ Grant B. Rabenn
                                               GRANT B. RABENN
18                                             Assistant U.S. Attorney
19
     DATED: May 24, 2013         By:           /s/ Edward Marshall Hodgkins, III
20                                             EDWARD MARSHALL HODGKINS, III
                                               Attorneys for Defendant
21
22
23   IT IS SO ORDERED.
24
     Dated:   May 24, 2013
25   0m8i78                                      SENIOR DISTRICT JUDGE
26
27
28



                                           3
